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                            UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OKLAHOMA

   Richard Feltz, et al.,
                                             Plaintiff(s),

   vs.                                                           Case Number: 18-cv-00298-CVE-JFJ
                                                                 Proceeding: Motion Hearing
   Vic Regalado, et al.,                                         Date: 3-26-2021
                                           Defendant(s).         Court Time: 11:00 a.m.

                                                   MINUTE SHEET

    Jodi F. Jayne, U.S. Magistrate Judge                 S. Cope, Deputy Clerk    C1, Reporter

   Counsel for Plaintiff: Hayley Horowitz, Phoebe Kasdin
   Counsel for Defendants Vic Regalado, Board of Co. Commissioners: Douglas Wilson
   Counsel for Special Judges: Erin Morgan Moore, Devan A. Pederson, Stefanie Lawson
   Counsel for Jari Adkins: Jeb Joseph, Debra Charles
   Minutes: Telephone conference held for the purpose of issuing oral ruling on Plaintiff’s Motion
   to Compel Compliance with a Subpoena (ECF No. 210) and Defendants State Judges’ Motion
   for Protective Order (ECF No. 235). Motion to Compel (ECF No. 210) is granted in part and
   denied in part and Motion for Protective Order (ECF No. 235) is granted in part and denied in
   part as set forth in the hearing. Parties are directed to submit proposed scheduling orders by
   April 7, 2021.




                                      Court Time: 11:08 a.m. - 11:47 a.m.




   Minute Sheet General                                                                             CV-01 (12/04)
